                                                                          1
     I7jddavc

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,                    New York, N.Y.

4                 v.                              S1 13 Cr. 0950-2(JMF)

5    GARY DAVIS,

6                      Defendant.

7    ------------------------------x

8
                                                  July 19, 2018
9                                                 2:40 p.m.

10
     Before:
11
                            HON. JESSE M. FURMAN,
12
                                                  District Judge
13

14                                  APPEARANCES

15   GEOFFREY S. BERMAN
          United States Attorney for the
16        Southern District of New York
     BY: EUN YOUNG CHOI
17        TIMOTHY TURNER HOWARD
          MICHAEL DANIEL NEFF
18             Assistant United States Attorneys

19   BAKER MARQUART LLP
          Attorneys for Defendant
20   BY: BRIAN EDWARD KLEIN

21   BRAFMAN & ASSOCIATES, PC
          Attorneys for Defendant
22   BY: JACOB KAPLAN

23              - also present -

24   SA Sam Shahrani, FBI
     SA Gary Alford, IRS
25


                       SOUTHERN DISTRICT REPORTERS, P.C.
                                 (212) 805-0300
                                                                         2
     I7jddavc

1               THE CLERK:   In the matter of the United States v.

2    Davis, 13 Cr. 950.

3               Counsel, state your name for the record.

4               MS. CHOI:    Good afternoon, your Honor.   Eun Choi on

5    behalf of the government.     With me at counsel is Timothy Howard

6    and Michael Neff of our offices, as well as Special Agent Sam

7    Shahrani of the FBI and Special Agent Gary Alford of the IRS.

8               THE COURT:   Good afternoon.

9               MR. KLEIN:   Good afternoon, your Honor.   Brian Klein,

10   from Baker Marquart.     With me is Jacob Kaplan from Brafman &

11   Associates.    And with us is Gary Davis, who is in custody.

12              THE COURT:   Good afternoon to you as well.

13              All right.   Mr. Davis, my name is Jessie Furman.    I am

14   a United States District Judge here in the Southern District of

15   New York and have been assigned to your case, which means that

16   I would be the judge who would preside over any trial in the

17   event that the case were to go to trial and would be the judge

18   in the event that you were convicted of any offense who would

19   impose sentence on you.

20              The purpose of today's proceeding -- counsel, you can

21   correct me if I am wrong -- is to arraign you on the charges in

22   the indictment that charges you with one count of narcotics

23   trafficking conspiracy, one count of computer hacking

24   conspiracy, and one count of conspiracy to commit money

25   laundering, and then we'll set a schedule for the case going


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                         3
     I7jddavc

1    forward.

2               I take it the defendant was presented before the

3    magistrate judge but not arraigned, is that correct?

4               MS. CHOI:    Yes, your Honor, last week before Judge

5    Cott.

6               THE COURT:    All right.   So is there anything to

7    discuss before I proceed to the arraignment?

8               MS. CHOI:    Not from the government's perspective, your

9    Honor.

10              THE COURT:    All right.

11              Mr. Klein?

12              MR. KLEIN:    No, your Honor.

13              THE COURT:    All right.   In that case, Mr. Davis, if

14   you would please rise.

15              Have you seen a copy of the Indictment, 13 -- S1 13

16   Crim. 950, containing the charges that I mentioned a moment

17   ago?

18              THE DEFENDANT:    Yes, I have, your Honor.

19              THE COURT:    And have you discussed it with your

20   lawyers?

21              THE DEFENDANT:    Yes, I have.

22              THE COURT:    And would you like me to read it out loud

23   or do you waive its public reading?

24              THE DEFENDANT:    I waive the public reading.

25              THE COURT:    And how do you plead at this time, guilty


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                         4
     I7jddavc

1    or not guilty?

2               THE DEFENDANT:   Not guilty.

3               THE COURT:   Thank you.

4               All right.   I should note, having just glanced at the

5    Indictment, I note that the date of the alleged conspiracy

6    is -- begins in January 2011.     I should note I think counsel

7    are aware of the fact that I was an Assistant United States

8    Attorney in this district before I took the bench and was in

9    that office until March of -- February or March of 2012.       I did

10   nothing in connection with this case or any related prosecution

11   that I am aware of.     I assume the government has no knowledge

12   to the contrary?

13              MS. CHOI:    Correct, your Honor.

14              THE COURT:   All right.   So on that basis, I have no

15   reason to believe that I would be recused from this matter,

16   but, defense counsel, if you have any reason to think otherwise

17   on that front, you can make the motion.        Any motion on that

18   issue would be due two weeks from today, and we'll set a

19   deadline for other motions in short order.

20              All right.   With that, if the government could give me

21   a little bit of background about -- I did read the Indictment

22   but if you could give me a little background about the

23   charge -- the charges against Mr. Davis and the status and

24   nature of discovery, that would be great.

25              MS. CHOI:    Yes, your Honor.   I think the basics are


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                         5
     I7jddavc

1    set forth in the Indictment.       But as I'm sure you are aware,

2    the office has pursued multiple prosecutions against

3    individuals who are responsible for the administration of the

4    Silk Road underground website that was on the Darknet, which

5    sold -- was a form by which individual vendors would sell a

6    variety of elicit goods, including but not limited to narcotics

7    and hacking instrumentalities.       So as a result, Mr. Davis,

8    because he played a role as a customer service representative

9    as well as an individual who would deal with vendor support,

10   has been charged in the three conspiracies that your Honor just

11   arraigned the defendant on, those being the narcotics

12   trafficking conspiracy, the computer hacking conspiracy, both

13   of which arise out of the items that were sold on Silk Road, as

14   well as the money laundering conspiracy that's charged with

15   regard to the operation of the website and the proceeds

16   therefrom.

17              THE COURT:   Can you just flesh out, when you say

18   "customer service representative," or whatever phrase you used

19   a moment ago, can you tell me what you mean by that?

20              MS. CHOI:    Sure.   He was an administrator who was

21   allegedly hired by the head of Silk Road, that being the Dread

22   Pirate Roberts, Mr. Ulbricht, who has already been convicted.

23   He was hired by Mr. Ulbricht to help with the administration of

24   specific instances of -- you know, questions that may have been

25   asked by individual vendors or in instances in which there were


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                         6
     I7jddavc

1    conflicts or disputes between people purchasing items and the

2    vendor selling items on the site.      He would be one of the

3    people who would be involved in resolving those disputes.

4               THE COURT:   All right.   Can you tell me about the

5    nature and status of discovery?

6               MS. CHOI:    Yes, your Honor.   Discovery started today.

7    I think it's best to describe discovery as belonging in two

8    categories.    The first category is generally discovery that

9    relates to the existence and the operation of Silk Road, which

10   involves a variety of images of servers, of the underlying

11   website itself, meaning the actual marketplace, as well as

12   forums that were related to those servers and other devices

13   that have sort have been seized that will help establish the

14   existence and the scope of the Silk Road enterprise.      That is

15   the majority of the volume of data, I would say roughly 16

16   terabytes worth of data on that front, and as well as other

17   types of -- you know, the applications that relate to the

18   seizures of that information by the government that were --

19   search warrants and the like that were pursued by the

20   government.

21              There is another category of which that was the --

22   which we prioritized, which is the evidence that directly

23   relates to this defendant, and that includes seizures of

24   private email search warrants for accounts that he used in

25   furtherance of his operation at Silk Road as well as -- one


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                          7
     I7jddavc

1    moment, your Honor.

2               (Pause)

3               As well as Facebook search warrants and the search

4    warrants and fruits of devices that were seized at the time of

5    his arrest in Ireland.     I have prioritized and produced to the

6    defense in the first instance the affidavits in support of

7    those seizures, with the understanding that defense counsel can

8    review them and start determining what, if any, motions can be

9    filed -- motions to suppress, mainly.       That local data is

10   approximately I believe on a four-terabyte drive, and there is

11   some efforts -- the government is currently underway in trying

12   to segregate out certain encrypted containers that may be on

13   those various devices but can produce the bulk of that data I

14   think over the course of the next few weeks, a month or a month

15   and a half or so, assuming that we can get the drives from

16   defense counsel to produce that data.

17              THE COURT:   All right.   And the first category -- I

18   mean, 16 terabytes is quite a bit.

19              MS. CHOI:    Yes, your Honor.

20              THE COURT:   Is there some -- do you have thoughts on

21   how defense counsel could go through that and efficiently

22   identify what is most relevant here?       I mean, I don't know to

23   what extent the trial against Mr. Ulbricht provides some sort

24   of template for that, if anything was done in that case that I

25   should consider doing here, but what are your thoughts.


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                           8
     I7jddavc

1               MS. CHOI:    In all of our cases that involve this type

2    of data, we are happy to walk the defense through specific

3    items.   Obviously, there was a public trial in that case, and

4    we would assume that the establish to establish the existence

5    of Silk Road would mirror that so that we can help defense

6    counsel identify where in that corpus of data, which is well

7    indexed, where in that corpus of data they can find the things

8    that they would like to see, and we are happy to work with them

9    on that front.

10              THE COURT:    When you say "devices that were seized at

11   the time of his arrest," how many devices and what is the

12   nature of them?

13              MS. CHOI:    Your Honor, it is a fairly long list.   The

14   nature of those devices include computers, I think -- let me

15   see.   At least two computers, cellular phones, and a variety of

16   storage devices, memory sticks, DVDs and the like, and I think

17   that corpus of data is quite large.       I don't think all of it is

18   necessarily directly related to the case, but we will produce

19   all of it back and identify for defense counsel the things that

20   they should prioritize in their review.

21              THE COURT:    All right.   Two other questions.   One is

22   status of the speedy trial clock.

23              MS. CHOI:    No days have run, your Honor.   He arrived

24   in the district last Friday, and he was arraigned -- I'm sorry.

25   He was presented on that day, and there has been an exclusion


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                           9
     I7jddavc

1    of time until today.

2               THE COURT:    All right.    And, second, it is not clear

3    to me -- I wouldn't think with respect to Counts One and Three

4    there would be anyone who would qualify as a victim within the

5    meaning of the Crime Victims' Rights Act, but I'm not sure

6    about Count Two.   Are there such people or entities?

7               MS. CHOI:    Your Honor, at this time we do not believe

8    that there have been any identified victims who are victims of

9    hacking software that was purchased from Silk Road with regard

10   to Count Two, but obviously if that changes we'll make sure

11   that we make the relevant notifications.

12              THE COURT:    All right.    So tell me what you would

13   propose in terms of a discovery schedule and/or ultimate

14   deadline.

15              Sorry, before you say that, I take it no post-arrest

16   statements were made?

17              MS. CHOI:    Correct, your Honor.

18              THE COURT:    OK.   So, schedule?

19              MS. CHOI:    Your Honor, I think that we will begin --

20   we will continue our production.        I would ask for a month to a

21   month and a half just so they can deal with the issue of

22   segregating out encrypted containers from the underlying

23   devices, and I just don't know at what speed we can do that but

24   we will do that expeditiously.        Obviously, your Honor, we will

25   produce all of the materials and prioritize all of the


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                        10
     I7jddavc

1    materials that would form a basis for any motions in the first

2    instance so that defense counsel can start their review of

3    those items first.

4               THE COURT:   All right.   Mr. Klein, let me hear from

5    you.   My general practice -- I don't think you've appeared

6    before me before -- is to set a deadline for the filing of

7    defense motions on the basis of what you know and have heard

8    regarding discovery.     It sounds like this may be a little bit

9    more complicated than your average case so I don't know if

10   that's feasible here.     I don't know if you have any views on a

11   deadline for the production of discovery, but I would be

12   inclined to give the government until the end of August, until

13   August 31st, to produce discovery with the understanding that

14   it is to be produce on a rolling basis prioritizing the

15   evidence that directly relates to Mr. Davis.

16              I guess question A is if you have any objection to

17   that, or any views on that, and, B, your thoughts on setting a

18   motion schedule at this time or if you think it makes more

19   sense to come back shortly after that deadline or even before

20   the deadline; what are your thoughts?

21              MR. KLEIN:   Your Honor, we don't have an objection to

22   that schedule for the discovery production.

23              One thing I would just ask, if we can get the exhibits

24   from the trial sooner, I think those could be identified and

25   produced to us sooner than later.      I am talking about the trial


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                        11
     I7jddavc

1    of Mr. Ulbricht.

2               THE COURT:    All right.

3               MR. KLEIN:    And then as for a motion schedule, I think

4    it is premature.   20 terabytes in total approximately is a

5    tremendous amount of information and data.       I would suggest

6    that we come back like two weeks after that deadline in case

7    there are any hiccups, and that gives us time to come back and

8    then we should have a better sense of things.

9               THE COURT:    All right.   Ms. Choi, number one, I would

10   think that you have the trial exhibits somewhere and those

11   could be produced more rapidly, and I think that probably does

12   make sense and would provide a little bit of a roadmap at least

13   as to the first category of evidence.       So, is that doable?

14              MS. CHOI:    Of course, your Honor.

15              THE COURT:    Great.   So why don't you do that and

16   prioritize that as well.

17              And then I am inclined to agree that coming back in

18   mid-September after defense counsel has had some opportunity to

19   review the landscape of evidence and we'll have a better sense

20   of what it involves and timing and can talk about a deadline at

21   that point, does that make since?

22              MS. CHOI:    Yes, your Honor, we think that is prudent.

23              THE COURT:    All right.   So we will set a discovery

24   deadline of August 31st, again, with the understanding that

25   discovery will be produced on a rolling basis prioritizing both


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                         12
     I7jddavc

1    the exhibits from the Ulbricht trial as well as evidence that

2    directly relates to Mr. Davis.

3               I would encourage you to talk sooner rather than later

4    about the sort of technical aspects of discovery production

5    here.   It sounds like any number of hard drives will be

6    necessary.    I'm also concerned, I want to make sure that

7    Mr. Davis has an opportunity and ability to review discovery

8    with defense counsel.      So, the government should speak with

9    defense counsel and, to the extent necessary, with whatever

10   facility he is being detained in to make sure that that is

11   feasible and doable.      And if there are any issues that you need

12   my assistance for, you certainly know how to find me.

13              Then I will have you back, let's say, Monday,

14   September 17th at 3:45.      Does that work for everybody?

15              MS. CHOI:    That works for the government, your Honor.

16              MR. KLEIN:    Your Honor, if I could ask that it be a

17   Tuesday or Wednesday or Thursday?      I fly in from the West Coast

18   and I probably need to take a red eye and I prefer not to and I

19   have a family and leave them on a Sunday.      So if that is

20   possible, to make it Tuesday or Wednesday of that week, or

21   Thursday?

22              THE COURT:    Tuesday and Wednesday don't work because

23   Wednesday is Yom Kippur, but I will honor your request and put

24   it on for Thursday at 4 p.m.      Does that work?

25              MR. KLEIN:    Yes, your Honor.   Thank you.


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                         13
     I7jddavc

1               THE COURT:   I may be a little hungry but I'll

2    hopefully have eaten by then.     All right.

3               MS. CHOI:    Sorry, your Honor.   That is

4    September 20th at 4 p.m.?

5               THE COURT:   Yes.

6               MS. CHOI:    OK.

7               THE COURT:   Is there an application with respect to

8    the speedy trial clock?

9               MS. CHOI:    Yes, your Honor.   The government at this

10   time would move for an exclusion of time between now and

11   September 20th at 4:00 so that the parties can discuss

12   discovery and the government can continue its production and

13   that the parties can discuss any pretrial resolution of this

14   case.

15              THE COURT:   Any objection?

16              MR. KLEIN:   No, your Honor.

17              THE COURT:   I will exclude time under the Speedy Trial

18   Act between today and September 20, 2018.       I find that the ends

19   of justice served by excluding that time outweigh the interests

20   of the public and the defendant in a speedy trial, to allow the

21   government to produce discovery to the defendant, and, more

22   importantly, to allow time for the defendant and counsel to

23   review that discovery and begin to consider what, if any,

24   motions he wants to file.

25              Now, I have been told that there might be a bail


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
                                                                        14
     I7jddavc

1    application.    I have since been told that there isn't.     I don't

2    know if that is an issue.      It looks -- Mr. Klein is shaking his

3    head that there is no such application.       To the extent that

4    there is going forward, I guess let us know.       My general

5    practice would probably be to have that handled in the first

6    instance by the magistrate judge on criminal duty just because

7    everybody is in the same place and it is sort of easy to get

8    everyone together.      All right?

9               MR. KLEIN:    Yes, your Honor.

10              THE COURT:    Very good.

11              Anything else?

12              MS. CHOI:    Not from the government, your Honor.    Thank

13   you.

14              MR. KLEIN:    Nothing from the defense, your Honor.

15              THE COURT:    All right.   In this case, we are

16   adjourned.    Thank you very much.

17              THE CLERK:    All rise.

18              (Adjourned)

19

20

21

22

23

24

25


                      SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
